Reuben B. Hoover and Elizabeth S. Hoover, Petitioners, v. Commissioner of Internal Revenue, RespondentHoover v. CommissionerDocket No. 80048United States Tax Court35 T.C. 566; 1961 U.S. Tax Ct. LEXIS 246; January 18, 1961, Filed *246 Decision will be entered under Rule 50.  Petitioner, a doctor in the general practice of medicine, participated in a postgraduate medical seminar and cruise to various Mediterranean ports. The amount allowable as an ordinary and necessary business expense and as such deductible under section 162 of the Internal Revenue Code of 1954 is determined.  Paul T. Key, Esq., for the petitioners.Mark H. Berliant, Esq., for the respondent.  Van Fossan, Judge.  VAN FOSSAN *566  Respondent determined a deficiency in petitioners' income taxes for the taxable year 1956 in the amount of $ 1,101.57.  The sole issue is whether respondent erred in disallowing as a business expense deduction*247  the cost of a "lecture cruise."FINDINGS OF FACT.Petitioners are husband and wife, residing in Bexley, a suburb of Columbus, Ohio.  Their joint return for the year 1956 was filed with the district director of internal revenue, Columbus, Ohio.  Since Elizabeth Hoover is a petitioner herein only by virtue of having filed a joint return with her husband, the latter will hereinafter sometimes be referred to as petitioner.Petitioner is a physician engaged in the general practice of medicine in Columbus, Ohio.  One-third of his time is devoted to the practice of industrial medicine as medical director of the Columbus and Southern Ohio Electric Company, such work being largely administrative.  He is associated in the general practice with another physician and employs various professional and nonprofessional personnel in his office.Petitioner is an extremely busy doctor, usually seeing approximately 30 patients per day, and devoting in the neighborhood of 60 working hours per week to his practice.Through an associate he learned of the "Second Post Graduate Medical Seminar Cruise," hereinafter sometimes referred to as the seminar or cruise.The seminar was to be given by five professors*248  of various medical subjects who were affiliated with Duke University School of Medicine. The advertising brochure published by a travel agency stated that the seminar was sponsored by Duke University School of Medicine, and at the conclusion of the cruise each "student" received a certificate signed as follows: "Wm. Nicholson [signature] William McNeal Nicholson, M.D., Director Post Graduate Education, Duke University School of Medicine." The university was not actually or officially *567  a party in the seminar. The lecturers were not specially compensated by Duke University, and the university received no fees for the course.  Instead, the lecturers received free passage on the cruise. All advertising and soliciting of doctors was conducted by the travel agency, which was one of the originators of the plan and which had made the travel arrangements.Petitioner wrote to Duke University to inquire concerning the "tax" status of expenses incurred for the cruise. He received a brochure from the travel agent which contained the following sentence: "The cost of attending is a deductible expense when computing taxes." Duke University did not discuss the question of the deductibility*249  of the expenses with the Internal Revenue Service.The brochure was folded in such a manner as to have eight printed pages or sides.  Of these, one was devoted to the proposed medical program (which program had been provided by the director of post-graduate medical education at the university and who also was one of the lecturers).  The remainder contained attractive pictures of the Mediterranean area, or information relative to the onshore programs, the itinerary, and accommodations.The seminar was originally to be conducted aboard the SS Nassau.  The descriptive brochure dealing with this vessel described it in lavish terms.  However, it became disabled and the SS Vulcania was chosen for the cruise. The latter vessel was a regular passenger ship with several decks and classes of passengers. It contained various salons, bars, recreation facilities, and offered services typical of a ship of its type.  Such facilities, as well as entertainment, were open to petitioner's use while on the cruise. The ship was not chartered for the exclusive use of the seminar.Petitioner and his wife, who accompanied him on the cruise, left Columbus, Ohio, on the 26th or 27th of October 1956. *250  The SS Vulcania sailed from New York on October 29, 1956.  Approximately 60 physicians participated in the cruise. Many brought their wives and/or relatives along.  The physicians occupied practically all of the first-class accommodations on the ship.The lectures commenced the first day at sea.  They were delivered in the main lounge of the vessel. After the formal lectures, which generally were 55 minutes in length, panel discussions as well as question and answer periods were held.  The ship was not specially equipped for teaching purposes.  No practical work or demonstrative exercises were conducted.  No personal study was required, and petitioner's evenings and much of the sailing time were free.The cruise lasted 18 days.  Lectures were given while the vessel was at sea (approximately 6 or 7 days) and sometimes while in port or traveling from port to port. The brochure received by petitioner from *568  the travel agency scheduled lectures only while at sea and contained such notations as "Shipboard Diversions," and "Shipboard activities will be published daily." The revised itinerary and proposed program supplied by the director of postgraduate medical education *251  indicated lectures only during the eastbound crossing.The subject matter lectured upon and discussed was of some value to petitioner in his practice.  Some of the information was directly assimilated into his work.  Petitioner received a certificate indicating that he had qualified to receive 25 hours' postgraduate education credit.  This credit in part satisfied the requirements of the Academy of General Practice, of which petitioner was a member.The SS Vulcania called at such ports as Lisbon, Barcelona, Naples, and Palermo.  At such ports petitioner embraced the opportunity to go ashore.  While in Naples he took a motor tour to Pompeii.  The revised itinerary for the cruise scheduled tours for sightseeing. Examples of some of the sightseeing scheduled by the revised itinerary are: "Call at Naples -- Motor coach drive to Pompeii, Amalfi, Sorrento, luncheon enroute, included in cruise fare"; and "Arrive Venice -- Disembark.  All day sightseeing on foot and by gondola, with luncheon, included in cruise fare."The trip terminated in Venice on November 15, 1956.  Petitioner and his wife spent some time in that city and then went to Rome.  From Rome he flew to Paris and London, *252  spending from 2 to 3 days in each city and returning to New York by plane from London on November 24.  Under the travel arrangement in force petitioner made these city stops without extra cost for plane fare from Rome to New York.Postgraduate or review courses are available to doctors generally.  A copy of the July 28, 1956, Journal of the American Medical Association lists approximately 100 such courses for the period September 1, 1956, to August 31, 1957.  The short courses averaged about 4 days and 25 hours' credit.  The fees for such courses averaged around $ 32.  Duke University Medical School's postgraduate medical education program provides similar courses and offered one from June 18 through 21, 1956.  Duke University's courses averaged from 2 to 5 days in length.  The course offered by Duke in 1956 granted 28 hours of credit.  The fees for the courses offered by Duke University vary from $ 15 to $ 40.  No fee was charged for the cruise.Petitioner took no deduction for expenses incurred by his wife on the cruise. Petitioners' joint return for 1956 contained the following entry on Schedule C: "Post-Grad. refresher course $ 1,881.86."Petitioner participated in the cruise *253  primarily because of pleasure considerations and only secondarily for educational purposes.  The sum of $ 232 is allowable as a necessary and reasonable business expense.*569  OPINION.The sole issue is whether petitioner was entitled to deduct the cost of a Mediterranean cruise as a business expense under section 162 of the Internal Revenue Code of 1954.  1 Respondent agreed that the amount of $ 1,881.86 was expended for the cruise (including the cost of petitioner's return flight) and substantiation thereof was not put in issue.  No expenses incurred by petitioner's wife were included in the claimed deduction.Petitioner argues*254  that the sum of $ 1,881.86 was expended solely in the pursuit of education and as such is a deductible expense.  It is his position that the recreation facilities available aboard the vessel and at the ports of call and the sightseeing features were but minor incidents of the cruise and played no role in dictating his choice of this method of securing his advanced education.Respondent contends that petitioner undertook the cruise primarily for vacation purposes and that the cost is not allowable as a deduction.  He considers the lecture aspect to be entirely overshadowed by the pleasure motive.We agree for the most part with respondent's position.  The record before us is convincing that what petitioner sought primarily was a vacation and not learning.  Petitioner testified that he was impressed by Duke University's medical faculty and that he also desired to escape from midwestern provincialism in the field of medicine. Even so, we find it impossible to believe that an extremely busy doctor would spend approximately a month in obtaining information which could have been obtained from the same faculty in 4 days and at a fraction of the cost of the cruise.The courses suggested*255  by the Journal of the American Medical Association were delivered at outstanding medical schools or centers, well equipped and staffed for the serious business of teaching medical courses.  Such courses were offered on both the east and west coasts in cities which are noted for their medical facilities.  These courses were generally short in duration and relatively inexpensive in cost.  They offered the "students" a wide selection of subjects.The lectures in this case were delivered in the main lounge of the SS Vulcania.  That vessel was a passenger ship not specially equipped for the teaching of medicine. It possessed no wards, laboratories, lecture halls, and similar facilities.  Instead, the vessel possessed bars, *570  salons, and recreation facilities, i.e., all the features desired by those bent upon enjoying a vacation. Petitioner was not required to study or prepare for the lectures. The nature of the physical plant and the informality surrounding the lectures do not suggest a serious and determined course of study as a principal motive.The brochures laid little emphasis on the "course of study." The nature of the vessel (including facilities and entertainment), *256  its ports of call, the itinerary, petitioner's shore activities, and tour of Pompeii, his stays in Venice, Paris, and London all indicate that "personal" or pleasure considerations dominated the selection of the cruise. In short, we believe the cruise was undertaken primarily for pleasure. The layout of the brochures, the descriptions, and itinerary were aimed primarily at securing vacation-minded customers for the travel agency.The record suggests to us, therefore, that the petitioner sought to "kill two birds with one stone," so to speak, by taking a leisurely vacation and picking up some useful medical knowledge as an incident thereto.Respondent formerly took the position that "Expenses incurred by doctors in taking post-graduate courses are deemed to be in the nature of personal expenses and not deductible." O.D. 984, 5 C.B. 171.This view, however, has been altered to a certain extent by respondent's current regulations.  Section 1.162-5 of the Income Tax Regulations states as follows:(d) * * * If the taxpayer's travel away from home is primarily personal, the taxpayer's expenditures for travel, meals, and lodging (other than meals and lodging*257  during the time spent in participating in deductible educational pursuits) are not deductible. Whether a particular trip is primarily personal or primarily to obtain education the expenses of which are deductible under this section depends upon all the facts and circumstances of each case.  An important factor to be taken into consideration in making the determination is the relative amount of time devoted to personal activity as compared with the time devoted to educational pursuits. * * * [Emphasis supplied.]See also Rev. Rul. 60-97, 1 C.B. 69"&gt;1960-1 C.B. 69.Lectures were given, and petitioner testified that he derived professional benefit from them and did assimilate some of the information directly into his work.  This we do not doubt.  The portion of the expenses incurred for this information, under respondent's regulations, is an allowable expense deduction.  The portion incurred for a vacation motive is personal in nature and not deductible. Sec. 262, I.R.C. 1954.  The Government is not to bear the expense of petitioner's vacation.Considering the vacation aspect or motive which looms large in the record before us, similar courses offered*258  by Duke University and other medical schools or centers, the number and extent of the lectures given *571  on the cruise, the useful nature of the subject matter, and petitioner's economic and social position, but faced with an absence of proof as to the actual details of costs and other relevant facts, we turn to the principle 2 of Cohan v. Commissioner, 39 F. 2d 540 (C.A. 2), and hold that the sum of $ 232 was an ordinary and necessary business expense and is allowable as a deduction.  See Ralph E. Duncan, 30 T.C. 386"&gt;30 T.C. 386.Decision*259  will be entered under Rule 50.  Footnotes1. SEC. 162. TRADE OR BUSINESS EXPENSES.(a) In General.  -- There shall be allowed as a deduction all the ordinary and necessary expenses paid or incurred during the taxable year in carrying on any trade or business, including -- * * * *(2) traveling expenses (including the entire amount expended for meals and lodging) while away from home in the pursuit of a trade or business; * * *↩2. Cohan v. Commissioner, 39 F. 2d 540 (C.A. 2), at 543-544:"Absolute certainty in such matters is usually impossible and is not necessary; the Board should make as close an approximation as it can, bearing heavily if it chooses upon the taxpayer whose inexactitude is of his own making.  * * * if necessary by drawing upon the Board's personal estimates of the minimum of such expenses."↩